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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                               Case No. 4:12CR00306-022 KGB

CHARLOTTE BLAND                                                                     DEFENDANT


                   ORDER GRANTING DEFENDANT BLAND’S MOTION
                       FOR PRE-PLEA PRESENTENCE REPORT

        Before the Court is defendant Charlotte Bland’s motion for pre-plea presentence report (Dkt.

No. 536). The motion states that the government agrees a pre-plea presentence report “could

facilitate a resolution to this case without a trial.”

        This is a multi-defendant case involving allegations of conspiracy to possess with intent to

distribute methamphetamine. Trial in this matter currently is set for the week of August 25, 2014

(Dkt. No. 528), and that date has been set since the Court entered an order March 12, 2014. Federal

Rule of Criminal Procedure 32 and General Order No. 43 govern the preparation and disclosure of

a presentence report.

        Ms. Bland’s request for a pre-plea presentence report is granted. The U.S. Probation Office

is directed to prepare a pre-plea presentence report in regard to separate defendant Ms. Bland. This

Court will confer with counsel and set by separate order a date for Ms. Bland’s plea hearing and

sentencing.

        IT IS SO ORDERED this 14th day of April, 2014.



                                                         _________________________________
                                                         KRISTINE G. BAKER
                                                         UNITED STATES DISTRICT JUDGE
